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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      PIKEVILLE

  PATTY JO HOWARD,                              )
                                                )
         Plaintiff,                             )          Civil No. 10-59-ART
                                                )
  v.                                            )
                                                )
                                                )             JUDGMENT
  MAGOFFIN COUNTY BOARD OF
  EDUCATION,                                    )
                                                )
          Defendant.                            )
                                         *** *** *** ***

        In accordance with the Order entered contemporaneously with this Judgment, and

 pursuant to Rule 58 of the Federal Rules of Civil Procedure, it is ORDERED and

 ADJUDGED that judgment is entered in favor of Magoffin County Board of Education.

 This is a final and appealable order.

        This the 17th day of November, 2011.
